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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

JACK E LEWIS JR,

      Plaintiff,

vs.                                          Case No.: 3:23-cv-16861/MCR/ZCB

ROBERT C LEWIS, et al.,

     Defendants.
_____________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on January 12,

2024. (Doc. 28). The Court furnished the plaintiff a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). There have been no timely filed objections.

      Having considered the Report and Recommendation and the record, I have

determined the Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (Doc. 28) is

adopted and incorporated by reference in this order.




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      2.     The Plaintiff’s amended complaint (Doc. 26) is DISMISSED for

failure to state a claim upon which relief may be granted under 28 U.S.C. §

1915(e)(2)(B)(ii).

      3.     The Clerk of Court is directed to enter judgment in accordance with this

order and close the case.

      DONE AND ORDERED this 26th day of June 2024.



                                 M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




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